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                 IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

UNITED STATES OF AMERICA,

                 Plaintiff,

      v.                                 CRIMINAL NO. 1:14CR66-4
                                              (Judge Keeley)

BRIAN MICHAEL BARNES,

                 Defendant.

          ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
         OPINION/REPORT RECOMMENDATION CONCERNING PLEA OF
      GUILTY IN FELONY CASE AND SCHEDULING SENTENCING HEARING

      On   November   19,   2014,   defendant,      Brian    Michael    Barnes

(“Barnes”), appeared before United States Magistrate Judge John S.

Kaull and moved for permission to enter a plea of GUILTY to Count

Six of the Indictment. Barnes stated that he understood that the

magistrate judge is not a United States District Judge, and

consented to pleading before the magistrate judge.            This Court had

referred the guilty plea to the magistrate judge for the purposes

of   administering    the   allocution   pursuant    to     Federal    Rule   of

Criminal Procedure 11, making a finding as to whether the plea was

knowingly and voluntarily entered, and recommending to this Court

whether the plea should be accepted.

      Based upon Barnes’ statements during the plea hearing and the

government’s proffer to establish an independent basis in fact, the

magistrate judge found that he was competent to enter a plea, that

the plea was freely and voluntarily given, that he was aware of the

nature of the charges against him and the consequences of his plea,
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and   that     a    factual   basis     existed    for   the    tendered    plea.   On

November 21, 2014, the magistrate judge entered an Opinion/Report

and Recommendation Concerning Plea of Guilty in Felony Case (“R&R”)

(dkt.    no.       134)   finding   a    factual    basis      for   the   plea,    and

recommending that this Court accept the plea of guilty to Count Six

of the Indictment.

        The magistrate judge also directed the parties to file any

written objections to the R&R within fourteen (14) days after

service of the R&R. The magistrate judge further directed that

failure to file objections would result in a waiver of the right to

appeal from a judgment of this Court based on the report and

recommendation. On November 21, 2014, the government, by Assistant

United States Attorney Shawn A. Morgan (“Morgan”), responded to the

R&R stating the government had no objection (dkt. no. 143). Barnes

did not file any objections.

        Accordingly, this Court ADOPTS the magistrate judge’s R&R,

ACCEPTS Barnes’ guilty plea, and ADJUGES him GUILTY of the crime

charged in Count Six of the Indictment.

        Pursuant to Fed. R. Crim. P. 11(e)(2) and U.S.S.G. § 6B1.1(c),

the Court DEFERS acceptance of the proposed plea agreement until it



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has received and reviewed the presentence report prepared in this

matter.

     Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS that:

     1.     The   Probation     Officer     undertake     a    presentence

investigation of BRIAN MICHAEL BARNES,        and prepare a presentence

report for the Court;

     2.     The Government and Barnes are to provide their         versions

of the offense to the probation officer by December 19, 2014;

     3.     The presentence report is to be disclosed to Barnes,

defense counsel, and the United States on or before February 4,

2015; however, the Probation Officer is not to disclose the

sentencing recommendations made pursuant to Fed. R. Crim. P.

32(e)(3);

     4.     Counsel may file written objections to the presentence

report on or before February 18, 2015;

     5.     The Office of Probation shall submit the presentence

report with addendum to the Court on or before March 3, 2015; and

     6.     Counsel may file any written sentencing statements and

motions for departure from the Sentencing Guidelines, including the




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factual    basis    from    the   statements    or   motions,   on   or   before

March 18, 2015.

     The magistrate judge continued Barnes on bond pursuant to the

Order Setting Conditions of Release (dkt. no. 24) entered on

September 18, 2014.

     The    Court    will    conduct    the    sentencing   hearing    for   the

defendant on Tuesday, April 7, 2015 at 1:00 P.M. at the Clarksburg,

West Virginia point of holding court.

     It is so ORDERED.

     The Clerk is directed to transmit copies of this Order to

counsel of record, the defendant and all appropriate agencies.

DATED: December 4, 2014


                                       /s/ Irene M. Keeley
                                       IRENE M. KEELEY
                                       UNITED STATES DISTRICT JUDGE




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